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 6
                            UNITED STATES DISTRICT COURT
 7
                                   EASTERN DISTRICT OF CALIFORNIA
 8

 9   PETER J. DEAN,                                                Case No. 1:23-cv-00542-KES-SKO

10                                                                 ORDER GRANTING DEFENDANT’S
                            Plaintiff,                             MOTION TO CHANGE VENUE
11
              v.                                                   (Doc. 16)
12

13   CITY & COUNTY OF SAN FRANSISCO,

14                  Defendant.
     _____________________________________/
15

16            On July 14, 2023, Defendant City and County of San Francisco (“Defendant”) filed a
17   motion to transfer this action to the Northern District of California under 28 U.S.C. § 1404(a).
18   (Doc. 16). Plaintiff Peter J. Dean (“Plaintiff”) opposes. (Doc. 19). This matter has been referred
19   to the undersigned pursuant to 8 U.S.C. § 636(b)(1)(A), (see Doc. 30).1
20            For the following reasons, the Court will grant Defendant’s motion to transfer this action
21   to the Northern District of California.
22                                                  I.       BACKGROUND
23            Plaintiff is a resident of California. (See Doc. 1 (“Compl.”) ¶ 1). Defendant is an
24   incorporated City of the State of California and public employer operating as the City and County
25   of San Francisco. (Id. ¶ 3). Plaintiff was an employee of Defendant until he was terminated on
26
27   1
      “Because an order transferring venue pursuant to 28 U.S.C. § 1404(a) does not address the merits of the case, it is a
     nondispositive matter that is within the province of a magistrate judge’s authority under 28 U.S.C. § 636(b)(1)(A).”
28   Pavao v. Unifund CCR Partners, 934 F. Supp. 2d 1238, 1241 n.1 (S.D. Cal. 2013). See also Cantley, 2016 WL
     4191889, at *6 n.1.
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 1   December 7, 2021, for failure to comply with Defendant’s COVID-19 vaccine mandate. (Compl.
 2   ¶ 19).
 3            Plaintiff brings claims related for religious discrimination, based on theories of failure to
 4   accommodate, disparate treatment, and retaliation, under 42 U.S.C. § 2000e, (id. ¶¶ 26–42 (failure
 5   to accommodate), id. ¶¶ 43–54 (disparate treatment), id. ¶¶ 55–63 (retaliation)), and failure to
 6   engage in interactive process, failure to accommodate, and retaliation, under the California Fair
 7   Employment and Housing Act, see Cal. Gov. Code §§ 12900 et seq., 12940(l), 12940(h)); (id. ¶¶
 8   64–69 (failure to engage in interactive process); id. ¶¶ 70–81 (failure to accommodate); id. ¶¶ 82–
 9   89 (retaliation)).    Plaintiff also alleges various disability discrimination claims, including
10   discrimination based on perceived disability under both the Americans with Disabilities Act, 42
11   U.S.C. § 12201, et seq.; (id. ¶¶ 90–101); and the California Fair Employment and Housing Act,
12   (Cal. Gov. Code § 12900, et seq.; id. ¶¶ 102–14).
13            Defendant now moves to transfer this action to the United States District Court for
14   Northern District of California under 28 U.S.C. § 1404(a), where they note that several
15   consolidated, earlier-filed cases—including a class action—are pending. Those cases are as
16   follows:
17            1. The “Keene” Action (4:22-cv-01587 (N.D. Cal.)): On March 14, 2022, the Keene
18               Action was filed against the Defendant. London Breed (the Mayor of San Francisco)
19               and Carol Isen (the City’s Director of Human Resources) were also sued in their
20               individual capacities. (See Doc. 16-1 (“Shapiro Decl.”) ¶ 5). The Northern District
21               granted a motion to dismiss these individuals, and the City is the only remaining
22               defendant. (See Shapiro Decl. ¶ 5). The three plaintiffs, Selina Keene, Melody
23               Fountila, and Mark McClure, allege that they were employees of the City, that they
24               were opposed to taking the COVID-19 vaccine due to their religious beliefs, and that
25               they were denied an accommodation to the “vaccine mandate” imposed by the City.
26               (See Doc. 16-5 (“Ex. D”) ¶¶ 8, 9, 10). The Keene plaintiffs assert causes of action for
27               (1) violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq.
28               (“Title VII”), and (2) failure to provide religious accommodation in violation of the

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 1          California Fair Employment and Housing Act (Cal. Govt. Code § 12900, et seq.)
 2          (“FEHA”) (Ex. D ¶¶ 25–44). The plaintiffs in the Keene Action seek compensatory
 3          damages and injunctive relief, among other forms of relief. (See Ex. D).
 4       2. The “Gozum” Action (4:22-cv-03975 (N.D. Cal.)): The Gozum Action was originally
 5          filed in San Francisco Superior Court on April 22, 2022. (See Shapiro Decl. ¶ 6). On
 6          May 26, 2022, the plaintiff filed a First Amended Complaint adding a cause of action
 7          for religious discrimination under Title VII, and the City subsequently removed the
 8          Gozum Action to the Northern District on July 6, 2022. (See id.) The plaintiff, David
 9          Gozum, alleges that he sought a religious exemption from the City’s COVID-19
10          “vaccine mandate” based on his religious beliefs, which was denied. (See Doc. 16-6
11          (“Ex. E”) ¶¶ 8, 11, 17).      Plaintiff further alleges that he was dismissed from
12          employment due to his refusal to receive the vaccine. (Ex. E ¶¶ 13, 19, 20). Plaintiff
13          Gozum brings two causes of action: (1) failure to provide religious accommodation in
14          violation of FEHA and (2) violation of Title VII. (See id. ¶¶ 14–24.) Plaintiff seeks
15          compensatory damages and injunctive relief, among other forms of relief. (See Ex. E).
16       3. The “Guardado” Action (4:22-cv-04319 (N.D. Cal.)): The Guardado Action, a
17          putative class action, was filed July 26, 2022. (Shapiro Decl. ¶ 7). The seven named
18          plaintiffs allege, on behalf of themselves and the putative class, that their personal
19          religious beliefs prevented them from receiving the COVID-19 vaccine, that they
20          requested an exemption from Defendant’s COVID-19 Vaccination Policy, and that
21          they suffered adverse employment actions due to their failure to receive the COVID-
22          19 vaccination. (See Doc. 16-7 (“Ex. F”) ¶¶ 5–11). The plaintiffs assert claims for (1)
23          failure to provide religious accommodation in violation of Title VII, (2) violation of
24          the “religious clauses” of the First Amendment to the U.S. Constitution, and (3) failure
25          to provide religious accommodation in violation of FEHA. (See Ex. F ¶¶ 57–80). The
26          putative class in the Guardado Action is defined as: “All employees presently or
27          previously employed by San Francisco (1) who have been ordered to submit to a
28          COVID-19 vaccination, (2) who have submitted a written request for a religious

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 1          accommodation, and (3) whose requests were denied due to a finding of a lack of
 2          religious sincerity and/or due to the claim that granting a religious accommodation
 3          would pose an undue hardship on San Francisco.” (Ex. F ¶ 14). This class definition
 4          accordingly contemplates encompassing all of the named plaintiffs in each of the
 5          Related Vaccine Actions asserting religious exemption-based claims, as well the
 6          Plaintiff in the instant action. The plaintiffs in the Guardado Action seek compensatory
 7          damages and injunctive relief, among other forms of relief. (See Ex. F.)
 8       4. The “Shaheed” Action (4:22-cv-06013 (N.D. Cal.)): The Shaheed Action was filed on
 9          October 12, 2022. (See Shapiro Decl. ¶ 8). The three plaintiffs are represented by the
10          same counsel as the plaintiffs in the Guardado action and assert substantially similar
11          claims as the plaintiffs in Guardado, though Shaheed is not a putative class action.
12          (Compare Doc. 16-8 (“Ex. G”), with Ex. F). The plaintiffs in the Shaheed Action seek
13          compensatory damages and injunctive relief, among other forms of relief. (See Ex. G).
14       5. The “Debrunner” Action (4:22-cv-07455 (N.D. Cal.)): The Debrunner Action was
15          filed on November 23, 2022. (Shapiro Decl. ¶ 9). The plaintiffs include 135 current
16          and former City employees challenging the City’s COVID-19 Vaccination Policy on
17          religious and medical grounds, and they assert claims for, among other things: (1)
18          failure to provide a religious accommodation in violation of Title VII, (2) failure to
19          provide religious accommodation in violation of FEHA, (3) violation of the “religious
20          clause” of the First Amendment to the U.S. Constitution, and (4) disability-related
21          claims under the Americans with Disabilities Act (“ADA”) and FEHA. (See Doc. 16-
22          9 (“Ex. H”) ¶¶ 291–504). The plaintiffs in the Debrunner Action seek compensatory
23          damages and injunctive relief, among other forms of relief. (See Ex. H)
24       6. The “Cook” Action (4:22-cv-07645 (N.D. Cal.)): On December 5, 2022, Joseph Cook,
25          a former employee of the City, brought an action challenging the City’s COVID-19
26          Vaccination Policy on religious grounds, and claimed he was unlawfully terminated
27          for not complying with the City’s COVID-19 Vaccination Policy. Plaintiff Cook
28          asserts claims for, among other things: (1) failure to provide religious accommodation

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 1              in violation of Title VII, and (2) failure to provide religious accommodation in
 2              violation of FEHA. (See Shapiro Decl. ¶ 10; Doc-16-10 (“Ex. I”) ¶¶ 31–35, 40–43).
 3              The plaintiff in the Cook Action seeks compensatory damages and injunctive relief,
 4              among other forms of relief. (See Ex. I).
 5          7. The “Monegas” Action (4:22-cv-04633 (N.D. Cal.)): On August 10, 2022, April
 6              Monegas, a former employee of the City, filed suit pro se alleging she was terminated
 7              for failure to comply with the City’s COVID-19 Vaccination Policy. (See Shapiro
 8              Decl. ¶ 11). Like certain of the plaintiffs in the Debrunner Action, Monegas asserts
 9              claims under the ADA, and like the Plaintiffs in Debrunner, Guardado, Gozum, and
10              Keene, Monegas seeks injunctive relief related to the City’s COVID-19 Vaccination
11              Policy. (See Doc. 16-11 (“Ex. J”) ¶¶ 49–75). The plaintiff in the Monegas Action seeks
12              compensatory damages and injunctive relief, among other forms of relief. (See Ex. J).
13          8. The “Sanders” Action (4:23-cv-00211 (N.D. Cal.)): On January 17, 2023, Charlotte
14              Sanders, a former City employee, filed suit alleging she was terminated for failure to
15              comply with Defendant’s COVID-19 Vaccination Policy. (See Shapiro Decl. ¶ 12).
16              Plaintiff Sanders alleges that her religion prohibited her from receiving the COVID-19
17              vaccination, and that she was unlawfully denied an exemption from the COVID-19
18              Vaccination Policy by Defendant. Plaintiff Sanders asserts claims for: (1) Violation of
19              the First Amendment’s Free Exercise Clause and (2) violation of Title VII (Shapiro
20              Doc. 16-12 (“Ex. K”) ¶¶ 51–80). Plaintiff Sanders seeks compensatory damages and
21              injunctive relief, among other forms of relief. (See Ex. K).
22   Since Defendant’s original motion was filed, seventeen other similar cases have been filed in the
23   Northern District including:
24          9. The “Royce” Action (4:23-cv-03643 (N.D. Cal.)): On July 24, 2023, Michael Royce,
25              an employee with the City, filed suit against the City of San Francisco related to alleged
26              discrimination based on failure to comply with Defendant’s COVID-19 Vaccination
27              Policy. (See generally Doc 20-1). Plaintiff Royce asserts claims for, among other
28              things religious discrimination and retaliation in violation of Title VII and violations

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 1              of the California Fair Employment and Housing Act. (See id. ¶¶ 26–89). Plaintiff in
 2              the present action represents Plaintiff Royce as retained counsel. (See id. at 20).
 3   A total of twenty-five actions have been consolidated by the Northern District. (See Doc. 16-18
 4   “Ex. Q” (4:22-cv-01587-JSW (Doc. 90))).
 5                                          II.     LEGAL STANDARD
 6          Section 1404(a) of Title 28 of the United States Code provides that even when venue is
 7   proper, the court has discretion to transfer an action “[fJor the convenience of parties and
 8   witnesses, in the interest of justice, . . . to any other district or division where it might have been
 9   brought.” 28 U.S.C. § 1404(a). The purpose of this section is to “prevent the waste ‘of time,
10   energy and money’ and to ‘protect litigants, witnesses and the public against unnecessary
11   inconvenience and expense.’” Van Dusen v. Barrack, 376 U.S. 612, 616 (1964) (quoting Cont’l
12   Grain Co. v. Barge F.B.L.–585, 364 U.S. 19, 26–27 (1960)). The party requesting the transfer
13   bears the burden of showing that the balance of conveniences weighs heavily in favor of the
14   transfer in order to overcome the strong presumption in favor of the plaintiff’s choice of forum.
15   Piper Aircraft v. Reyno, 454 U.S. 235, 255–56 (1981); Decker Coal Co. v. Commonwealth Edison
16   Co., 805 F.2d 834, 843 (9th Cir. 1986).
17          To support a motion to transfer under section 1404(a), the moving party must first show
18   the proposed transferee court possesses subject matter jurisdiction over the action, the parties
19   would be subject to personal jurisdiction in the transferee court, and venue would have been proper
20   in the transferee court. Hoffman v. Blaski, 363 U.S. 335, 344 (1960); A.J. Indus., Inc. v. United
21   States Dist. Ct. for the Cent. Dist. of Cal., 503 F.2d 384, 386 (9th Cir. 1974). Once this threshold
22   requirement has been established, the Court next looks at whether the convenience of parties and
23   witnesses, and the interests of justice favor transfer. 28 U.S.C. § 1404(a). In the Ninth Circuit,
24   courts weigh several considerations when determining whether transfer is appropriate: (1)
25   plaintiff's choice of forum; (2) convenience of the parties; (3) convenience of the witnesses and
26   availability of compulsory process; (4) ease of access to the evidence; (5) feasibility of
27   consolidation of other claims; (6) familiarity of each forum with the applicable law; (7) any local
28   interest in the controversy; and (8) the relative court congestion and time to trial in each forum.

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 1   Decker Coal, 805 F.2d at 843; see Jones v. GNC Franchising, Inc., 211 F.3d 495, 498–99 (9th
 2   Cir. 2000), cert. denied, 531 U.S. 928 (2000).
 3                                              III.       DISCUSSION
 4          Plaintiff does not contest whether this action could have initially been brought in the
 5   Northern District, nor is there a dispute over subject matter jurisdiction, whether the parties would
 6   be subject to personal jurisdiction in the transferee court, or whether venue would have been
 7   proper there. Thus, Defendant readily satisfies the threshold requirement of showing that the
 8   action could have been originally brought in the Northern District. See Hoffman, 363 U.S. at 344;
 9   A.J. Indus., 503 F.2d at 386.
10          In analyzing the second prong of a transfer under section 1404, the Court may consider
11   several factors to determine whether the convenience and interest of justice elements of section
12   1404(a) are met by the proposed transfer: (1) convenience to the parties and witnesses; (2) relative
13   ease of access to evidence; (3) availability of compulsory process for attendance of unwilling
14   witnesses; (4) plaintiff's choice of forum; and (5) administrative considerations. See Decker Coal
15   Co., 805 F.2d at 843; E. & J. Gallo Winery v. F. & P. S.P.A., 899 F. Supp. 465, 466 (E.D. Cal.
16   1994). The factors are each sub-categories of the three general factors listed in the text of section
17   1404(a) itself: the convenience of parties, the convenience of witnesses, and the interest of justice.
18   The Court is to interpret these factors broadly, and to apply them to the particular facts of each
19   individual case. See e.g., id. at 466. And “[t]he question of which forum will better serve the
20   interest of justice is of predominant importance on the question of transfer, and the factors
21   involving convenience of parties and witnesses are in fact subordinate.” Madani v. Shell Oil Co.,
22   No. C07–04296 MJJ, 2008 WL 268986, at *2 (N.D. Cal. Jan. 30, 2008) (quotation marks omitted);
23   see also Mussetter Distrib., Inc. v. DBI Beverage Inc., No. CIV 09–1442 WBS EFB, 2009 WL
24   1992356, at *6 (E.D. Cal. July 8, 2009).
25          There are a large number of factors that courts have considered in weighing the propriety
26   of a section 1404(a) transfer, not all of which are particularly relevant here. Rather than discussing
27   all possible influences on the Court’s decision, the Court will focus only on the factors that are of
28   significance in this case—in particular, the interests of justice and Plaintiff’s choice of forum.

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 1           Defendants contend that the transfer should be granted in the interest of justice, to avoid
 2   inconsistent rulings, and for judicial efficiency. (Doc. 16 at 6–11). Plaintiff contends that a change
 3   of venue would cause hardship. (Doc. 19 at 2–3). Plaintiff also contends that to make a finding
 4   that transfer is in the interests of justice, the Court would need to make a finding that there would
 5   be no conflict or prejudice caused by the transfer related to Plaintiff’s representation in a related
 6   case being heard in the Northern District. (Id. at 3). The Court addresses these issues below.
 7           Plaintiff asserts that transfer to the Northern District would be a hardship. (Doc. 19 at 2–
 8   3). This is belied by the fact that Plaintiff currently represents a separate Plaintiff in a similar
 9   action currently consolidated with the other twenty-four cases before the Northern District. Cf.
10   Siddiqi v. Gerber Prods. Co., No. CV 12-1188 PA RZX, 2012 WL 11922412, at *2 (C.D. Cal.
11   Mar. 26, 2012).
12           While Plaintiff's choice of forum favors this Court over the Northern District, ultimately
13   administrative considerations and the interest of justice dictate that this action should be
14   transferred to the Northern District. While it is true that a Plaintiff’s choice of forum is to be given
15   considerable weight, there are circumstances in which the interests of justice can override the
16   Plaintiff’s interest. See Mussetter Distrib., Inc., 2009 WL 1992356, at *6; Doe v. Yale Univ., No.
17   215CV07263SVWAGR, 2015 WL 13917170, at *1 (C.D. Cal. Nov. 4, 2015); Regents of the Univ.
18   of Cal. v. Eli Lilly & Co., 119 F.3d 1559, 1565 (Fed. Cir. 1997) (“Consideration of the interest of
19   justice, which includes judicial economy, ‘may be determinative to a particular transfer motion,
20   even if the convenience of the parties and witnesses might call for a different result.’” (quoting
21   Coffee v. Van Dorn Iron Works, 796 F.2d 217, 220–21 (7th Cir. 1986)); Moore’s Federal Practice,
22   § 111.13[1][o][I] (“The fact that a related action is pending in the proposed transferee district is
23   an important consideration that can override plaintiff's choice of forum because transfer of the
24   second action will promote judicial economy and avoid the possibility of inconsistent results.”).
25   Indeed, “[t]he Supreme Court has “made quite clear that ‘[t]o permit a situation in which two cases
26   involving precisely the same issues are simultaneously pending in different District Courts leads
27   to the wastefulness of time, energy, and money that § 1404(a) was designed to prevent.’” Ferens
28   v. John Deere Co., 494 U.S. 516, 531 (1990) (quoting Continental Grain Co. v. The FBL–585,

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 1   364 U.S. 19, 26 (1960)); see also Jolly v. Purdue Pharma L.P., No. 05–CV–1452H, 2005 WL
 2   2439197, at *5 (N.D. Cal. Oct. 19, 2010) (“The pendency of related actions in the transferee forum
 3   is a significant factor in considering the interest of justice factor.”). Because there is already
 4   extensive litigation involving twenty-five consolidated cases in the Northern District—in which
 5   the claims, core facts, and parties involved substantially overlap with those at issue in the present
 6   case—the Court finds that transferring this action to the Northern District would serve judicial
 7   economy and the interests of justice by preventing duplicative litigation and conserving the
 8   parties’ and the Court's time and energy.
 9           The Court further concludes that the finding that transfer is in the interests of justice is not
10   affected by the fact that Plaintiff is acting as counsel in one of the twenty-five consolidated cases
11   currently pending in the Northern District. The Court agrees with Defendant that under the
12   California Rules of Professional Conduct, any conflict Plaintiff has with the Plaintiff in the Royce
13   action exists under Rule 1.7 regardless of whether the action is pending in this Court or in the
14   Northern District. Additionally, a person representing themselves pro se is not per se conflicted
15   from representing another non-adverse party in a representative capacity even in the same case—
16   let alone in a consolidated case. See Hammer v. City of Sun Valley, No. 1:13-CV-211-EJL, 2019
17   WL 958360, at *1 (D. Idaho Feb. 26, 2019). Even assuming a conflict of interest would arise
18   from the transfer itself, the undersigned finds that the interests of justice still outweigh any such
19   “potential ethical dilemma.” See DivX, Inc. v. UMG Recordings, Inc., No. 07CV1753 DMS
20   (BLM), 2008 WL 11509148, at *3 (S.D. Cal. Feb. 5, 2008) (“The Court declines to find that a
21   potential ethical dilemma facing the parties’ counsel in related cases outweighs the clear fact that
22   litigating this matter in the context of the lawsuit currently pending in the Central District will lead
23   to a more complete and efficient determination of the issues before this Court.”).
24           In sum, the Court concludes that the convenience and justice inquiry favors transferring
25   this case. While Plaintiff wishes to litigate in the Eastern District of California, on balance, the
26   countervailing considerations substantially outweigh this factor. The differences between the
27   consolidated actions in the Northern District of California and this case are not significant enough
28   to outweigh the substantial judicial economy that transfer would accord. As Judge Hollander

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 1    stated in Kukich: “[T]here is no need to burden two courts with virtually identical lawsuits. Rather,
 2    this action should be heard by the court that is already familiar with the issues to conserve judicial
 3    resources and to prevent inconsistent rulings.” Kukich v. Electrolux Home Prods., Inc., No. CV
 4    ELH-16-3412, 2017 WL 345856, at *12 (D. Md. Jan. 24, 2017).
 5                                     IV.     CONCLUSION AND ORDER
 6           Based upon the foregoing, the Defendant has met its burden of demonstrating the transfer
 7    is appropriate under 28 U.S.C. § 1404(a). See Commodity Futures Trading Comm’n v. Savage,
 8    611 F.2d 270, 279 (9th Cir. 1979). Accordingly, the Court ORDERS that Defendant’s motion to
 9    transfer venue to the Northern District of California (Doc. 4) is GRANTED.
10
     IT IS SO ORDERED.
11

12 Dated:     May 30, 2025                                      /s/ Sheila K. Oberto                  .
                                                        UNITED STATES MAGISTRATE JUDGE
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